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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                    4:09CR3111
                                                )
               v.                               )
                                                )
HECTOR N. CERVANTES RIVERA,                     )         ORDER ON ORAL MOTION TO
                                                )        CONTINUE RULE 35(b) HEARING
                      Defendants.               )
                                                )


       Counsel for the defendant orally requested a continuance of the Rule 35(b) hearing and with
no objection from plaintiff’s counsel,

       IT IS ORDERED that:

       1.      the Rule 35(b) hearing is continued to July 2, 2012, at 12:15 p.m. in Courtroom No.
               4, U.S. Courthouse, 100 Centennial Mall North, Lincoln, Nebraska; and

       2.      the defendant has waived his appearance at this hearing.

       Dated May 14, 2012.

                                       BY THE COURT




                                       United States Senior District Judge
